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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,                                      Case No. 10-CR-0339(6) (PJS/JJK)

                        Plaintiff,

v.
                                                                       ORDER
CRUZ ROSALES,

                        Defendant.



Jeffrey S. Paulsen, Esq., Assistant United States Attorney, counsel for Plaintiff.

Michael C. Hager, Esq., Hager Law Office, counsel for Defendant Rosales.



       The above matter comes before the Court upon the Report and Recommendation of

United States Magistrate Judge Jeffrey J. Keyes dated July 6, 2011. No objections have been

filed to that Report and Recommendation in the time period permitted. Based on the Report and

Recommendation of the Magistrate Judge, on all of the files, records, and proceedings herein, the

Court now makes and enters the following Order.

       IT IS HEREBY ORDERED that:

       1.      Defendant Cruz Rosales’s Motion to Dismiss the Indictment, [Docket No. 278], is

DENIED.


Date: July 21, 2011

                                                      s/Patrick J. Schiltz
                                                      Patrick J. Schiltz
                                                      United States District Judge
